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     FLETCHER & FOGDERUDE, INC.
 2   5412 N Palm Ave # 101
 3   Fresno, CA 93704
     Telephone: 559-431-9710
 4   Attorney for Defendant, TIMOTHY NEW
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     UNITED STATES OF AMERICA,                          No. 1:14-CR-00101 – AWI BAM (003)
 8
                                 Plaintiff,             WAIVER OF DEFENDANT TIMOTHY
 9                                                      NEW’S APPEARANCE AT ALL NON
            v.                                          SUBSTANTIVE PRETRIAL
10                                                      PROCEEDINGS AND ORDER THEREON
     TIMOTHY NEW,
11
                                Defendant.
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13          Pursuant to Fed.R.Crim. P. 43(b)(3), Defendant TIMOTHY NEW, having been advised
14   of his right to be present at all stages of the proceedings, hereby requests that this Court proceed
15   in his absence on every occasion that the Court may permit, pursuant to this waiver. Defendant
16   agrees that his interests shall be represented at all times by the presence of his attorney Eric K.
17   Fogderude, the same as if Defendant were personally present, and requests that this court allow
18   his attorney-in-fact to represent his interests at all times. Defendant further agrees that notice to
19   Defendant’s attorney that Defendant’s presence is required will be deemed notice to the
20   Defendant of the requirements of his appearance at said time and place.
21          GOOD CAUSE APPEARING, exists for the granting of this waiver because the
22   Defendant currently resides in Pensacola, Florida and he has limited financial resources to pay for
23   round trip transportation to Fresno. In addition, he is currently subject to home monitoring as a
24   condition of his release and traveling from Florida to California for court appearances for status
25   hearings, would disrupt his home monitoring.
26
     Dated: July 7, 2014                                    /s/ Timothy New
27                                                          TIMOTHY NEW, Defendant
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                                                       1
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 1
     Dated: July 7, 2014                                  Respectfully submitted,
 2                                                        FLETCHER & FOGDERUDE, INC

 3
                                                           /s/ Eric K. Fogderude
 4                                                        Eric K. Fogderude,
                                                          Attorney for Defendant, TIMOTHY NEW
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 6

 7                                                ORDER

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10          GOOD CAUSE APPEARING, it is hereby ordered that the Defendant’s appearance may

11   be waived at any and all non-substantive pretrial proceedings until further order.

12
     IT IS SO ORDERED.
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14      Dated:     July 18, 2014                              /s/ Barbara A. McAuliffe     _
                                                       UNITED STATES MAGISTRATE JUDGE
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